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 8   Acting United States Secretary of Labor
 9
10                    IN THE UNITED STATES DISTRICT COURT
11                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
12                                                 Case No. 2:19-cv-03546-TJH-PLAx
13   JULIE A. SU,
       Acting Secretary of Labor,                  OPPOSITION TO DEFENDANT
14     United States Department of Labor,          LILY “MEI” TSENG’S
                                                   MOTION FOR
15                                  Plaintiff,     RECONSIDERATION (DKT.
                 v.                                293)
16
17   KP POULTRY, INC., et al.,                     Hon. Terry J. Hatter, Jr.
18                                  Defendants.
19                                                 UNDER SUBMISSION
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     OPPOSITION TO DEFENDANT LILY “MEI” TSENG’S MOTION FOR RECONSIDERATION (DKT. 293)
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 1         Defendant Tseng’s Motion for Reconsideration should be denied because it
 2   fails to comply with Local Civil Rule 7-18 in various ways. First, it was not filed
 3   within 14 days of entry of this Court’s Order, and it does not argue or present facts
 4   that show that Defendant Tseng had good cause for the failure to timely file the
 5   motion. On August 25, 2023, the Court granted Plaintiff’s Motion for
 6   Reconsideration and denied Defendant Tseng’s Motion to Set Aside Default
 7   Judgment. Dkt. 288. On August 28, 2023, the Court entered an Amended Order,
 8   Default Judgment and Injunction (Dkt. 289), which closed the case. Defendant
 9   Tseng did not file her Motion for Reconsideration until September 14, 2023, which
10   was 20 days after the Court’s August 25th Orders and 17 days after the Court
11   closed the case.
12         Second, the Motion does not address the standard required for a Motion for
13   Reconsideration and does not present facts relevant to any of the three grounds on
14   which a party can move for a Motion for Reconsideration under Local Rule 7-18.
15         Accordingly, the Acting Secretary respectfully requests that the Court deny
16   Defendant Tseng’s Motion for Reconsideration (Dkt. 293).
17
18   Respectfully submitted on November 27 2023,
                                              SEEMA NANDA
19                                            Solicitor of Labor
20
                                                   MARC A. PILOTIN
21                                                 Regional Solicitor
22
                                                   KATHERINE E. CAMERON
23
                                                   Associate Regional Solicitor
24
25                                                 SONYA SHAO
                                                   Senior Trial Attorney
26
27                                                 s/ Kathryn A. Panaccione
                                                   KATHRYN A. PANACCIONE
28

     OPPOSITION TO DEFENDANT LILY “MEI” TSENG’S MOTION FOR RECONSIDERATION (DKT. 293)
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                                                 Trial Attorneys
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 3                                            Attorneys for Plaintiff Julie A. Su, Acting
                                               United States Secretary of Labor
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     OPPOSITION TO DEFENDANT LILY “MEI” TSENG’S MOTION FOR RECONSIDERATION (DKT. 293)
     Case No. 2:19-cv-03546-TJH-PLAx                                             Page 2
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 1                            CERTIFICATE OF SERVICE

 2
 3   I, YVETTE HOFFMAN, am a citizen of the United States of America and am
 4   over eighteen years of age. I am not a party to the within action; my business
 5   address is 312 NORTH SPRING STREET, SUITE 720, LOS ANGELES, CA
 6   90012. On this date, I served the Acting Secretary’s Opposition to Defendant Lily
 7   “Mei” Tseng’s Motion for Reconsideration (Dkt. 293) via UPS to the addresses
 8   below:
 9
10               TL Foods, Inc.
                 3118 Baldwin Lane
11               Baldwin Park, CA 91706
12               USPS Tracking No.
13               Lily Tseng
14               3118 Baldwin Lane
                 Baldwin Park, CA 91706
15
                 USPS Tracking No.
16
17         I certify that the foregoing is true and correct. Executed November 27,
18         2023.

19
20                                   /s/Yvette Hoffman
                                     YVETTE HOFFMAN
21                                   United States Department of Labor
22
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     OPPOSITION TO DEFENDANT LILY “MEI” TSENG’S MOTION FOR RECONSIDERATION (DKT. 293)
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